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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
           Plaintiff,                    )
                                         )
      v.                                 )    Case No. 4:04CR629 RWS
                                         )
ANTHONY COLEMAN,                         )
                                         )
           Defendant.                    )


                                      ORDER

      At the request of counsel for the government and for good cause shown,

      IT IS HEREBY ORDERED that the government’s request to continue

sentencing is granted and sentencing of defendant is continued to April 21, 2006, at

10:00 a.m.



                                         _______________________________
                                         RODNEY W. SIPPEL
                                         UNITED STATES DISTRICT JUDGE


Dated this 15th day of February, 2006.
